8:09-cr-00272-JFB-FG3           Doc # 105     Filed: 02/09/10    Page 1 of 2 - Page ID # 329




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                        Plaintiff,               )
                                                 )                  8:09CR272
       vs.                                       )
                                                 )           ORDER, FINDINGS AND
MICHAEL D. McCROY,                               )            RECOMMENDATION
                                                 )
                        Defendant.               )


       This matter is before the court on defendant McCroy's "Motion to File Pretrial

Motions Out of Time" (#102) and "Motion to Dismiss Indictment Or, in the Alternative, for

Election of Remedies" (#103). I find that the motion to file pretrial motions out of time

should be denied. I recommend that the motion to dismiss indictment be stricken or denied

as untimely filed.

       The record shows that, after procuring two extensions of time, McCroy was given

until October 5, 2009 to file pretrial motions. McCroy filed a Motion to Suppress (#57) and

a Motion to Sever Counts1 (#59) on October 5. During the suppression hearing on January

21, 2010, McCroy indicated that he would be wanting to file more pretrial motions;

however, he was not given permission to do so at that time.

       The motion for leave to file pretrial motions out of time was filed four months after

the extended pretrial motion deadline expired. The subjects of the proposed motions all

involve legal issues or facts which could have been raised on or before the October 5,

2009 deadline.        The hearings on the defendant's timely-filed motions have been




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           The Motion to Sever was resolved against the defendant on January 26, 2010 (#99).
8:09-cr-00272-JFB-FG3            Doc # 105   Filed: 02/09/10   Page 2 of 2 - Page ID # 330




concluded. The defendant has not shown any cause, much less good cause, for a four-

month extension of the pretrial motion deadline.

       The "Motion to Dismiss Indictment Or, in the Alternative, for Election of Remedies"

(#103) was filed four months out of time, without permission, and without good cause

shown for its untimely filing.

       For these reasons,

       IT IS ORDERED that defendant McCroy's "Motion to File Pretrial Motions Out of

Time" (#102) is denied.

       IT IS RECOMMENDED that McCroy's "Motion to Dismiss Indictment Or, in the

Alternative, for Election of Remedies" (#103) be stricken or denied as untimely filed.

       DATED February 9, 2010.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge




                                              -2-
